1/20/2021   Case 6:21-cv-00007-RBD-DCI
                                  Electronic Document        11-2
                                             Case Filing | U.S. District Filed   01/20/21
                                                                         Court - Middle District ofPage    1 of 6 PageID 43
                                                                                                   Florida-Query

                                                                 Select A Case


                                                      Tavia Wagner is a plaintiff in 135 cases.


   3:18-cv-00278-BJD-PDB          Wagner v. Old Kings Highway Associates, Ltd. et al                 filed 02/23/18 closed 05/10/18


   3:18-cv-01053-BJD-JBT          Wagner v. Gerald and Claudia's Oceanview Plaza, LLC et al          filed 08/29/18 closed 02/08/19


   3:18-cv-01054-TJC-PDB          Wagner v. Wilson et al                                             filed 08/29/18 closed 08/08/19


   3:18-cv-01055-BJD-JRK          Wagner v. NJCX,LLC et al                                           filed 08/29/18 closed 12/13/18


   3:19-cv-00488-TJC-PDB          Wagner v. H.P. Rental, Inc. et al                                  filed 04/16/19 closed 12/02/19


   3:19-cv-00626-MMH-JRK          Wagner v. H.T. Gilbert Enterprises, Inc. et al                     filed 05/28/19 closed 06/27/19


   6:16-cv-01267-JA-GJK           Wagner v. Lovely Group Investments, Inc. et al                     filed 07/15/16 closed 11/28/16


   6:16-cv-01269-PGB-T_S          Wagner v. Azam et al                                               filed 07/15/16 closed 01/23/17


   6:16-cv-01330-CEM-KRS          Wagner v. Heng Enterprises, Inc. et al                             filed 07/25/16 closed 12/12/16


   6:16-cv-01331-RBD-KRS          Wagner v. Kevin Incorporated et al                                 filed 07/25/16 closed 11/22/16


   6:16-cv-01975-ACC-GJK          Collins v. Gatlin Brothers of Daytona Beach, LLC et al             filed 11/10/16 closed 02/28/17


   6:16-cv-01982-GAP-T_S          Wagner v. Heidner Hoffmann LLC et al                               filed 11/14/16 closed 02/17/17


   6:16-cv-02018-RBD-DCI          Wagner v. Belly Busters of Deland Inc.                             filed 11/18/16 closed 03/07/17


   6:17-cv-00139-ACC-KRS          Wagner v. Winston Real Estate, Inc. et al                          filed 01/26/17 closed 03/27/17


   6:17-cv-00140-CEM-DCI          Wagner v. Bordenga et al                                           filed 01/26/17 closed 03/27/17


   6:17-cv-00149-GAP-DCI          Wagner v. Abril Enterprises Inc et al                              filed 01/27/17 closed 03/21/17


   6:17-cv-00150-ACC-KRS          Wagner v. WB Station LLC                                           filed 01/27/17 closed 04/14/17


   6:17-cv-01783-PGB-KRS          Wagner v. Sobik et al                                              filed 10/13/17 closed 12/06/18


   6:17-cv-01818-ACC-GJK          Wagner v. HTLC Properties, LLC et al                               filed 10/20/17 closed 01/10/18


   6:17-cv-01863-GAP-DCI          Wagner v. Nason et al                                              filed 10/27/17 closed 11/26/18


   6:18-cv-00037-JA-KRS           Wagner v. Gator Riverwood, LLC et al                               filed 01/08/18 closed 05/11/18


   6:18-cv-00439-JA-KRS           Wagner v. Volusia Mall, LLC et al                                  filed 03/22/18 closed 09/06/18

https://ecf.flmd.uscourts.gov/cgi-bin/iquery.pl?90541523190548-L_1_0-1                                                                1/6
1/20/2021   Case 6:21-cv-00007-RBD-DCI
                                  Electronic Document        11-2
                                             Case Filing | U.S. District Filed   01/20/21
                                                                         Court - Middle District ofPage    2 of 6 PageID 44
                                                                                                   Florida-Query

   6:18-cv-00728-RBD-GJK          Wagner v. Shanri Holdings Corp. et al                              filed 05/11/18 closed 08/08/18


   6:18-cv-00729-PGB-KRS          Wagner v. Shanri Holdings Corp. et al                              filed 05/11/18 closed 07/10/18


   6:18-cv-00730-CEM-KRS          Wagner v. GC WEN FL, LLC et al                                     filed 05/11/18 closed 06/05/18


   6:18-cv-00901-GAP-GJK          Wagner v. Shanri Holdings Corp. et al                              filed 06/08/18 closed 08/10/18


   6:18-cv-00903-PGB-T_S          Wagner v. Brandywine Properties, LLC et al                         filed 06/08/18 closed 12/11/18


   6:18-cv-00904-GAP-GJK          Wagner v. Shanri Holdings Corp. et al                              filed 06/08/18 closed 12/12/18


   6:18-cv-00989-CEM-DCI          Wagner v. OGV Enterprises, LLC                                     filed 06/25/18 closed 01/08/19


   6:18-cv-00990-CEM-KRS          Wagner v. McNab BBQ Deland, Inc.                                   filed 06/25/18 closed 10/09/18


   6:18-cv-01243-PGB-KRS          Wagner v. Hao & Han, LLC et al                                     filed 07/31/18 closed 11/26/18


   6:18-cv-01247-PGB-T_S          Wagner v. Lancet, Loftus, & Co. et al                              filed 07/31/18 closed 11/01/18


   6:18-cv-01310-GAP-T_S          Wagner v. Deland Victoria, LLC. et al                              filed 08/10/18 closed 01/03/19


   6:18-cv-01311-RBD-DCI          Wagner v. Deland Victoria, LLC. et al                              filed 08/10/18 closed 01/09/19


   6:18-cv-01312-CEM-T_S          Wagner v. Deland Victoria, LLC et al                               filed 08/10/18 closed 02/11/19


   6:18-cv-01714-ACC-KRS          Wagner v. West Volusia Investors, Inc. et al                       filed 10/12/18 closed 11/09/18


   6:18-cv-01716-PGB-LRH          Wagner v. West Volusia Investors, LLC et al                        filed 10/12/18 closed 04/11/19


   6:18-cv-01886-RBD-DCI          Wagner v. HS Land Holding, LTD. et al                              filed 11/02/18 closed 02/08/19


   6:18-cv-02040-PGB-DCI          Wagner v. Victorium Corporation                                    filed 11/27/18 closed 02/12/19


   6:18-cv-02041-ACC-GJK          Wagner v. Bellini Florence Tr et al                                filed 11/27/18 closed 01/28/19


   6:18-cv-02071-JA-GJK           Wagner v. Mirino et al                                             filed 12/01/18 closed 01/18/19


   6:18-cv-02072-ACC-T_S          Wagner v. Donidea, LLC et al                                       filed 12/01/18 closed 02/07/19


   6:19-cv-00029-GAP-T_S          Wagner v. Andrews et al                                            filed 01/07/19 closed 04/03/19


   6:19-cv-00150-CEM-GJK          Wagner v. Four Townes, LLC et al                                   filed 01/23/19 closed 07/17/19


   6:19-cv-00462-PGB-LRH          Wagner v. Real Sub, LLC et al                                      filed 03/11/19 closed 04/23/20


   6:19-cv-00463-PGB-T_S          Wagner v. Florida Sub Systems, Inc.                                filed 03/11/19 closed 04/11/19



https://ecf.flmd.uscourts.gov/cgi-bin/iquery.pl?90541523190548-L_1_0-1                                                                2/6
1/20/2021   Case 6:21-cv-00007-RBD-DCI
                                  Electronic Document        11-2
                                             Case Filing | U.S. District Filed   01/20/21
                                                                         Court - Middle District ofPage    3 of 6 PageID 45
                                                                                                   Florida-Query
   6:19-cv-00575-PGB-LRH          Wagner v. Spring Garden Foods, Inc.                                filed 03/25/19 closed 04/29/19


   6:19-cv-00576-RBD-GJK          Wagner v. Trivett et al                                            filed 03/25/19 closed 07/02/19


   6:19-cv-00621-GAP-GJK          Wagner v. Mbn Ltd et al                                            filed 04/01/19 closed 05/30/19


   6:19-cv-00625-RBD-DCI          Wagner v. Demer Deland Development, Inc. et al                     filed 04/01/19 closed 09/16/19


   6:19-cv-00672-RBD-LRH          Wagner v. Sunshine Realty Partners, LLC et al                      filed 04/09/19 closed 05/13/19


   6:19-cv-00717-GAP-DCI          Wagner v. H.P. Rental, Inc. et al                                  filed 04/16/19 closed 04/30/19


   6:19-cv-00917-PGB-LRH          Wagner v. Smith et al                                              filed 05/15/19 closed 08/14/19


   6:19-cv-00994-PGB-GJK          Wagner v. Conklin et al                                            filed 05/29/19 closed 12/17/19


   6:19-cv-00998-RBD-DCI          Wagner v. Dark Horse Properties, LLC et al                         filed 05/29/19 closed 11/26/19


   6:19-cv-01035-RBD-EJK          Wagner v. Obrien et al                                             filed 06/05/19 closed 10/22/19


   6:19-cv-01090-RBD-EJK          Wagner v. Panita Food, Inc. et al                                  filed 06/13/19 closed 07/23/19


   6:19-cv-01091-CEM-DCI          Wagner v. Balkam LLC                                               filed 06/13/19 closed 07/11/19


   6:19-cv-01123-WWB-GJK Wagner v. Beach Shop & Save, LLC.                                           filed 06/18/19 closed 02/19/20


   6:19-cv-01124-PGB-DCI          Wagner v. Lovece Vincent TR et al                                  filed 06/18/19 closed 04/07/20


   6:19-cv-01128-CEM-DCI          Wagner v. Jones et al                                              filed 06/19/19 closed 12/03/19


   6:19-cv-01146-PGB-DCI          Wagner v. Ainsworth Properties, LLC et al                          filed 06/21/19 closed 08/22/19


   6:19-cv-01276-RBD-GJK          Wagner v. Our Deck Down Under, LLC                                 filed 07/11/19 closed 08/14/19


   6:19-cv-01315-CEM-EJK          Wagner v. Dairy Bar LLC et al                                      filed 07/17/19 closed 09/04/19


   6:19-cv-01336-CEM-GJK          Wagner v. Squillante et al                                         filed 07/22/19 closed 10/04/19


   6:19-cv-01339-PGB-GJK          Wagner v. Via Genovese, LLC et al                                  filed 07/22/19 closed 09/17/19


   6:19-cv-01452-CEM-GJK          Wagner v. Port Orange Marina, Inc. et al                           filed 08/06/19 closed 11/15/19


   6:19-cv-01790-WWB-LRH Wagner v. Alfie's Restaurant Inc.                                           filed 09/16/19 closed 11/19/19


   6:19-cv-01791-CEM-EJK          Wagner v. Deep Petroleum, Inc.                                     filed 09/16/19 closed 12/10/19


   6:19-cv-01876-GAP-DCI          Wagner v. JJC Property Management, LLC et al                       filed 10/01/19 closed 04/29/20


   6:19-cv-01883-GAP-LRH          Wagner v. Circle K Stores, Inc.                                    filed 10/02/19 closed 03/05/20
https://ecf.flmd.uscourts.gov/cgi-bin/iquery.pl?90541523190548-L_1_0-1                                                                3/6
1/20/2021   Case 6:21-cv-00007-RBD-DCI
                                  Electronic Document        11-2
                                             Case Filing | U.S. District Filed   01/20/21
                                                                         Court - Middle District ofPage    4 of 6 PageID 46
                                                                                                   Florida-Query


   6:19-cv-02188-RBD-EJK          Wagner v. ECF Property LLC et al                                       filed 11/18/19 closed 02/19/20


   6:19-cv-02189-ACC-EJK          Wagner v. International Brew, Inc.                                     filed 11/18/19 closed 06/25/20


   6:19-cv-02199-ACC-GJK          Wagner v. Forguson et al                                               filed 11/19/19 closed 01/16/20


   6:19-cv-02339-CEM-GJK          Wagner v. Maitland Fruit Co. et al                                     filed 12/12/19 closed 01/27/20


   6:19-cv-02340-WWB-DCI          Wagner v. Chang et al                                                  filed 12/12/19 closed 03/03/20


   6:19-cv-02450-PGB-DCI          Wagner v. Fratellis Pizzeria & Italian Restaurant Inc.                 filed 12/30/19 closed 02/28/20


   6:20-cv-00141-PGB-GJK          Wagner v. Yeluri Ramesh & Krishna TR et al                             filed 01/28/20 closed 04/21/20


   6:20-cv-00142-RBD-LRH          Wagner v. Fantasy Island LLC et al                                     filed 01/28/20 closed 03/25/20


   6:20-cv-00196-WWB-DCI          Wagner v. ARC Cafeusa001, LLC et al                                    filed 02/06/20 closed 07/16/20


   6:20-cv-00267-PGB-LRH          Wagner v. Trimble et al                                                filed 02/17/20 closed 06/09/20


   6:20-cv-00438-GAP-LRH          Wagner v. Century Nationwide Properties LLC et al                      filed 03/10/20 closed 04/28/20


   6:20-cv-00439-CEM-DCI          Wagner v. Castaway Restaurant Group LLC                                filed 03/10/20 closed 05/11/20


   6:20-cv-00440-RBD-DCI          Wagner v. Zarbo et al                                                  filed 03/10/20 closed 04/16/20


   6:20-cv-00825-ACC-LRH          Wagner v. Hawaiian Inn Beach Resort Condominium Association Inc. et al filed 05/12/20 closed 06/11/20


   6:20-cv-00826-CEM-LRH          Wagner v. Kim's Food And Gas Inc. et al                                filed 05/12/20 closed 08/18/20


   6:20-cv-00887-CEM-DCI          Wagner v. Michael J. Forest TRS et al                                  filed 05/25/20 closed 11/05/20


   6:20-cv-00888-WWB-DCI          Wagner v. Circle K Stores Inc.                                         filed 05/25/20 closed 07/07/20


   6:20-cv-00889-PGB-LRH          Wagner v. Monu Enterprises Inc.                                        filed 05/25/20 closed 12/04/20


   6:20-cv-00894-CEM-DCI          Wagner v. Vishkurti et al                                              filed 05/26/20 closed 09/28/20


   6:20-cv-01048-WWB-EJK          Wagner v. Christina & Dino Inc.                                        filed 06/15/20 closed 10/26/20


   6:20-cv-01059-ACC-DCI          Wagner v. Alegria Investments LLC et al                                filed 06/15/20 closed 08/05/20


   6:20-cv-01088-PGB-LRH          Wagner v. Tomoka Plaza LLC et al                                       filed 06/19/20 closed 08/25/20


   6:20-cv-01095-GAP-LRH          Wagner v. Jay Pritam Inc. et al                                        filed 06/19/20


   6:20-cv-01206-ACC-DCI          Wagner v. Global Plaza USA Inc. et al                                  filed 07/08/20


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1/20/2021   Case 6:21-cv-00007-RBD-DCI
                                  Electronic Document        11-2
                                             Case Filing | U.S. District Filed   01/20/21
                                                                         Court - Middle District ofPage    5 of 6 PageID 47
                                                                                                   Florida-Query

   6:20-cv-01207-ACC-EJK          Wagner v. Barracuda Stations LLC et al                             filed 07/08/20 closed 12/18/20


   6:20-cv-01209-RBD-LRH          Wagner v. Sairam 300 LLC et al                                     filed 07/08/20


   6:20-cv-01216-GAP-GJK          Wagner v. Ray Service Station Inc.                                 filed 07/08/20 closed 08/20/20


   6:20-cv-01217-ACC-DCI          Wagner v. Giniya International Corporation                         filed 07/08/20


   6:20-cv-01418-PGB-DCI          Wagner v. Karoona Holdings LLC et al                               filed 08/10/20 closed 10/09/20


   6:20-cv-01419-RBD-GJK          Wagner v. 7-Eleven, Inc. et al                                     filed 08/10/20


   6:20-cv-01420-GAP-LRH          Wagner v. Now Inc.                                                 filed 08/10/20 closed 09/15/20


   6:20-cv-01421-WWB-LRH Wagner v. Taqueria Juanita Corp.                                            filed 08/10/20 closed 10/26/20


   6:20-cv-01422-PGB-EJK          Wagner v. BW Dix Inc. et al                                        filed 08/10/20 closed 01/04/21


   6:20-cv-01423-GAP-DCI          Wagner v. 7-Eleven Inc.                                            filed 08/10/20


   6:20-cv-01498-CEM-DCI          Wagner v. Mas Food Mart, Inc.                                      filed 08/19/20


   6:20-cv-01499-WWB-GJK Wagner v. Mahdiya Group Inc.                                                filed 08/19/20 closed 10/08/20


   6:20-cv-01500-CEM-EJK          Wagner v. Tyagi et al                                              filed 08/19/20 closed 10/26/20


   6:20-cv-01501-CEM-EJK          Wagner v. Kassab et al                                             filed 08/19/20 closed 12/07/20


   6:20-cv-01502-WWB-EJK          Wagner v. AAO Stores LLC et al                                     filed 08/19/20 closed 10/05/20


   6:20-cv-01503-GAP-EJK          Wagner v. Krishna 5 LLC et al                                      filed 08/19/20


   6:20-cv-01572-RBD-GJK          Wagner v. Circle K Stores Inc. et al                               filed 08/28/20 closed 10/28/20


   6:20-cv-01573-WWB-EJK          Wagner v. M & R United Inc. et al                                  filed 08/28/20 closed 10/05/20


   6:20-cv-01574-WWB-GJK Wagner v. MSG Ormond Land L.L.C. et al                                      filed 08/28/20 closed 10/26/20


   6:20-cv-01575-PGB-DCI          Wagner v. PREM Investments Inc. et al                              filed 08/28/20 closed 10/08/20


   6:20-cv-01707-RBD-LRH          Wagner v. City of Daytona Beach et al                              filed 09/18/20


   6:20-cv-01708-PGB-LRH          Wagner v. Marias Corporation et al                                 filed 09/18/20


   6:20-cv-01709-CEM-LRH          Wagner v. 323 Flagler Avenue LLC et al                             filed 09/18/20


   6:20-cv-01710-CEM-GJK          Wagner v. IHOP Ormond, LLC et al                                   filed 09/18/20 closed 11/04/20


   6:20-cv-01711-CEM-GJK          Wagner v. Discount Auto Parts LLC                                  filed 09/18/20 closed 10/27/20
https://ecf.flmd.uscourts.gov/cgi-bin/iquery.pl?90541523190548-L_1_0-1                                                                5/6
1/20/2021   Case 6:21-cv-00007-RBD-DCI
                                  Electronic Document        11-2
                                             Case Filing | U.S. District Filed   01/20/21
                                                                         Court - Middle District ofPage    6 of 6 PageID 48
                                                                                                   Florida-Query



   6:20-cv-01712-PGB-LRH          Wagner v. Vrochopoulos et al                                            filed 09/18/20 closed 10/28/20


   6:20-cv-01764-RBD-DCI          Wagner v. Derby Plaza Properties LLC et al                              filed 09/27/20


   6:20-cv-01765-RBD-EJK          Wagner v. Turanib Corporation                                           filed 09/27/20


   6:20-cv-01766-PGB-EJK          Wagner v. Carner's Investment LLC et al                                 filed 09/27/20


   6:20-cv-01928-CEM-GJK          Wagner v. MJB Chelsea Ocean Village, LLC et al                          filed 10/19/20


   6:20-cv-01929-ACC-GJK          Wagner v. Ocean East Resort Club Association Inc. et al                 filed 10/19/20 closed 12/17/20


   6:20-cv-01933-ACC-LRH          Wagner v. Garriques Robert M. Tr et al                                  filed 10/19/20


   6:20-cv-02020-ACC-GJK          Wagner v. Khalil et al                                                  filed 10/31/20


   6:20-cv-02021-CEM-GJK          Wagner v. Khiur Properties Inc.                                         filed 10/31/20


   6:20-cv-02032-PGB-GJK          Wagner v. Delta Petro Inc. et al                                        filed 11/02/20 closed 01/07/21


   6:20-cv-02274-GAP-LRH          Wagner v. Sterner Daytona LLC et al                                     filed 12/15/20


   6:20-cv-02308-PGB-DCI          Wagner v. Norwoods Inc.                                                 filed 12/18/20


   6:20-cv-02309-WWB-LRH Wagner v. EAC Family Limited Partnership et al                                   filed 12/18/20


   6:21-cv-00006-WWB-EJK          Wagner v. Floridas Finest French Bakery, Inc.                           filed 01/04/21


   6:21-cv-00007-RBD-DCI          Wagner v. Brock et al                                                   filed 01/04/21


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